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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

JULIE ELLEN WARTLUFT F/K/A JULIE
ELLEN BARTELS AND FREDERICK L.
BARTELS, JR., Individually and as

 

 

Administrators of the Estate of Abrielle Kira CA. NO.: :
Plaintiffs,
Ws “_ (CONNER, C.J.)
| ) (CARLSON, J.)
THE MILTON HERSHEY SCHOOL, "

, FILED
and HARRISBURG, PA
THE HERSHEY TRUST COMPANY, AS JUL 36 2018
TRUSTEE OF THE MILTON HERSHEY kK 5 /
SCHOOL TRUST, Per [

Defendants. Deputy Clerk
ORDER

In accordance with the revised proposal submitted by Defendants, and
Protect the Hersheys’ Children, Inc. (“PHC”), IT IS ORDERED as follows: (1)
Defendants’ letter brief is due no later than August 10, 2018; (2) PHC’s letter brief
is due no tater than August 31, 2018; and (3) Defendants’ reply letter brief is due
no later than September 14, 2018.

SO ORDERED this Zl" day of Jk 2018.

Martin C. Carlson
United States Magistrate Judge
Middle District of Pennsylvania

 
